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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


HEATHER B.,                                    )
                                               )
      Plaintiff,                               )
                                               )
                    v.                         ) 2:19-cv-00484-JDL
                                               )
ANDREW M. SAUL,                                )
Commissioner of Social Security,               )
                                               )
      Defendant.                               )


      ORDER ACCEPTING THE RECOMMENDED DECISION OF THE
                     MAGISTRATE JUDGE
      Heather B. seeks judicial review of the Social Security Administration

Commissioner’s final decision determining that she is not disabled and denying her

application for Disability Insurance and Supplemental Security Income benefits

(ECF Nos. 1, 11). On May 11, 2020, the Commissioner filed a motion requesting that

the Court, pursuant to sentence four of 42 U.S.C.A. § 405(g) (West 2020), remand the

matter to the Appeals Council with instructions to remand to the Administrative Law

Judge for further evaluation of the Plaintiff’s residual function capacity (ECF No. 15).

The Plaintiff agrees that remand is appropriate but opposes the remand instruction

proposed by the Commissioner (ECF No. 17).

      Magistrate Judge John H. Rich III held a hearing on the Commissioner’s

motion on June 23, 2020 (ECF No. 24). The Magistrate Judge filed his Recommended

Decision with the Court on August 31, 2020, recommending that the Court grant the

Commissioner’s motion to remand but adopt the remand language proposed by the

Plaintiff, rather than that proposed by the Commissioner (ECF No. 25). The time
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within which to file objections has expired, and no objections have been filed. The

Magistrate Judge notified the parties that failure to object would waive their right to

de novo review and appeal.

      Having reviewed and considered the Magistrate Judge’s Recommended

Decision, along with the entire record, I concur with the Magistrate Judge’s

conclusions as set forth in his Recommended Decision. It is therefore ORDERED

that the Recommended Decision (ECF No. 25) of the Magistrate Judge is hereby

ACCEPTED, the Commissioner’s Motion to Remand (ECF No. 15) is GRANTED IN

PART, and the matter is REMANDED to the Commissioner pursuant to sentence

four of 42 U.S.C.A. § 405(g). Upon remand, the Appeals Council will instruct the

Administrative Law Judge to further evaluate the claimant’s physical residual

functional capacity and describe the basis for each conclusion in the medical and

nonmedical evidence; take further action to complete the administrative record

resolving the above issues; and issue a new decision. The scope of this remand is

limited to the period from December 29, 2014, through November 7, 2018. In light of

the remand, the Plaintiff’s Statement of Errors (ECF No. 11) is DISMISSED AS

MOOT.



      SO ORDERED.

      Dated this 21st day of October, 2020.

                                                      /s/ Jon D. Levy
                                                 CHIEF U.S. DISTRICT JUDGE




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